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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


CIGNA CORPORATION,

               Plaintiff,

v.                                                      No. 4:23-cv-00093-RLW


AMY BRICKER and CVS PHARMACY,
INC.,

               Defendants.


                                     NOTICE OF APPEAL

       As permitted by 28 U.S.C. § 1292(a)(1), notice is hereby given that CVS Pharmacy, Inc.,

a defendant in the above captioned case, hereby appeals to the United States Court of Appeals for

the Eighth Circuit from the Order granting Plaintiff Cigna Corporation’s Motion for a Preliminary

Injunction entered in this action on June 5, 2023, ECF No. 209 (the “Order”), as well as from all

adverse rulings related to or which served as a predicate for that Order, including but not limited

to:

       The order denying Defendant CVS Pharmacy Inc.’s Motion to Participate in Preliminary

Injunction Hearing entered on March 29, 2023, ECF No. 136, and the adverse evidentiary rulings

prior to and during the hearing on the motion held on March 30, 2023; and

       The order granting Plaintiff Cigna Corporation’s Motion for Leave to File a Third

Amended Complaint entered on February 13, 2023, ECF No. 49.




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 Dated: June 16, 2023                             Respectfully submitted,

                                                  Counsel for CVS Pharmacy, Inc.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 16, 2023, the foregoing was filed electronically with the

Clerk of the Court to be served by operation of the Court’s electronic filing system.


                                                     /s/ Emily J. Nash

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